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                             UNITED STATES DISTRICT COURT

                              DISTRICT OF MASSACHUSETTS



SECURITIES AND EXCHANGE
COMMISSION,                                       Civil Action No. 1:17-cv-11633

               Plaintiff,

       v.

NAVELLIER & ASSOCIATES, INC.,
and LOUIS NAVELLIER,

               Defendants.




     DEFENDANTS’ REQUEST FOR LEAVE TO FILE THE ATTACHED REPLY
                          MEMORANDUM


       Pursuant to Local Rule 7.1(b)(3) Defendants request leave to file the attached reply

memorandum in support of their Rule 10(c) motion. Defendants request leave to file a reply in

order to apprise the Court of the incorrect statements and misleading arguments of SEC’s

counsel in their Objections and Proposed Amendments To Defendants’ Request For Statement of

December 20, 2018 Hearing (DKT#338).

       The SEC seeks to have the Court omit, and thereby deny, that during the December 20,

2018 hearing that Defendants’ counsel stated that ACA had been retained at his behest, to assist

him in advising his clients. The SEC’s opposition further misleads this Court by seeking to delete

that this Court asked Defendants’ counsel if he or his clients were willing to provide the Court

with the ACA documents for her in camera review and that Defendants’ counsel replied yes, that

he could and would absolutely provide the Court with the subpoenaed ACA records for its in



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camera review. That exchange occurred at the December 20, 2018 hearing. The SEC’s attempt

to delete it would result in an inaccurate 10(c) statement.

       Since the SEC’s counsel has tried in its opposition and proposed 10(c) statement to omit

these statements, which did occur during the hearing, it is necessary for the Defendants to be able

to clearly point out to the Court in a reply that the SEC’s opposition is incorrect and misleading

and does not reflect what was actually said at the December 20, 2018 hearing.




                                                       Respectfully submitted,

DATED: October 29, 2020                LAW OFFICES OF SAMUEL KORNHAUSER
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                                                       Attorneys for Defendants


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                            LOCAL RULE 7.1 CERTIFICATION

       On October 29, 2020 the undersigned attempted to meet and confer with SEC counsel by

email to obtain the SEC’s assent for leave to file a reply memorandum in support of their Rule

10(c) motion. SEC’s counsel refused to assent.



Dated: October 29, 2020                                    By: /s/ Samuel Kornhauser
                                                                  Samuel Kornhauser

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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document was filed on this date through the ECF system and will

be sent to the registered participants as identified on the Notice of Electronic Filing (NEF) as of

this date of this filing.



October 29, 2020                                              By: Dan Cowan
                                                                  Dan Cowan




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